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               IN THE DISTRICT COURT OF THE UNITED STATES
                       DISTRICT OF SOUTH CAROLINA
                              AIKEN DIVISION

UNITED STATES OF AMERICA                 )   CRIMINAL NO. 1:12-0333
                                         )
             vs.                         )
                                         ) NOTICE OF ENHANCED PENALTY
TERRANCE LAMAR WIGGINS                   )
    a/k/a T-Wig                          )
    a/k/a Barnwell

      The United States of America by and through its undersigned Assistant United States

Attorney, files this Notice of Enhanced Penalty thereby notifying the defendant,

TERRANCE LAMAR WIGGINS, a/k/a T-Wig, a/k/a Barnwell, that he is subject to

increased penalties pursuant to Title 21, United States Code, Section 851, based upon the

following convictions:

      a.     Conspiracy: Barnwell County General Sessions Court; Docket No. 2006-GS-
             06-0214; Offense Date: 04/05/2003; Conviction Date: 02/26/2007.

      The Government reserves the right to amend this Information.


                                         WILLIAM N. NETTLES
                                         UNITED STATES ATTORNEY

                                         By: s/Julius N. Richardson
                                         JULIUS N. RICHARDSON (ID #9823)
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April 18, 2012
